Case 1:25-mc-02069-RER           Document 8       Filed 06/30/25      Page 1 of 2 PageID #: 631




                                          June 30, 2025


VIA ECF & VIA EMAIL
Honorable Ramon E. Reyes, Jr.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:     Pennsylvania Higher Education Assistance Agency v. Golden, Case No. 1:25-
               mc-02069-RER; Nelnet Servicing, LLC v. Golden, Case No. 1:25-mc-02070-
               RER; National Collegiate Student Loan Trust 2006-4 et al. v. Golden, Case No.
               1:25-mc-02071-RER

Dear Judge Reyes,

       We represent Plaintiff-Appellee in the above-entitled matters.

       We respectfully request an opportunity to address the relevance to this action of the
Supreme Court’s decision in Trump v. CASA, Inc., No. 24A884, 221 L.Ed. 658, 2025 WL 1773631
(June 27, 2025) recently decided and extensively discussed in Movants’ reply briefs filed on June
27, 2025. Because the Trump decision was not issued until after Plaintiff-Appellee filed her
opposition brief, we did not have an opportunity to address it.

        The Trump decision has no relevance to this action. In Trump, the Court answered, at least
tentatively, the question of “whether Congress has granted federal courts the authority to
universally enjoin the enforcement of an executive or legislative policy.” 2025 WL 1773631, at
*6. Obviously, that question has nothing to do with this action. Moreover, the Supreme Court was
careful to distinguish the so-called universal injunction from injunctions issued in class actions,
which appropriately may apply to all the parties and all class members. Id. at *11-12. Further, the
Trump decision affirms the appropriateness of preliminary injunctive relief in class action cases.
See id. at *22, 25 (Kavanaugh, J., concurring). The present appeal before Your Honor concerns
preliminary injunctive relief in an actual class action. Thus, the holding in Trump lends no support
to Movants’ arguments.

         Movants attempt to wedge this case into the ambit of Trump by arguing that Judge Stong
erred in issuing a preliminary injunction before certifying the class. But that argument only serves
to illustrate the inappropriateness of granting appellate relief now. Judge Stong has before her an
already-argued motion for class certification and has indicated to the parties that she intends to
issue the decision on that motion in the near future. Yet, in their motion papers, Movants raise
several arguments only directed at the definition of the class.
Case 1:25-mc-02069-RER           Document 8        Filed 06/30/25      Page 2 of 2 PageID #: 632




Hon. Ramon E. Reyes, Jr.
June 30, 2025
Page 2 of 2


        Moreover, as noted in Plaintiff-Appellee’s brief in opposition to the motion for leave to
appeal, a court has wide discretion to grant injunctive relief before class certification where the
circumstances merit such relief. See 1:25-mc-02070-RER, Dkt. No. 3 (June 18, 2025) at 22-23;
see also Adv. Pro. No 1-17-01005-ess, Dkt. No. 267, (Aug. 5, 2020) (letter to the Court explaining
that courts have wide-discretion to grant preliminary injunctive relief prior to class certification).
Whether or not the Bankruptcy Court properly issued the injunction here is not a question of pure
controlling law which needs immediate review, but rather, is a question directly implicating the
specific facts unique to this case.


                                                      Respectfully submitted,

                                                      /s/ George F. Carpinello
                                                      George F. Carpinello




cc via ECF: All counsel of record
